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MARCEREAU & NAZIF

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ATTORNEYS FOR CREDITORS and PLAINTIFFS
Kelli Peters, Bill Peters and Sydnie Peters

UNITED STATED BANKRUPTCY COURT
CENTRAL DISTRICT OF CALIFORNIA — SANTA ANA DIVISION

In re: Case No. 8:16-bk-10223-ES
Adversary Case No.: 8:16-ap-01114-ES

Kent W. Easter, dba Kent Easter
Consulting, dba Law Offices of Kent W. DECLARATION OF ROBERT H.
Easter MARCEREAU IN SUPPORT OF
PLAINTIFF’S MOTION FOR
SUMMARY JUDGMENT

[Notice of Motion and Motion;

. : . Memorandum of Points and Authorities;
Kelli Peters, Bill Peters and Sydnie Peters, Statement of Undisputed Facts; Request for

Judicial Notice filed concurrently]

Plaintiffs,
vs. Date: November 10, 2016
Kent W. Easter, dba Kent Easter Department: 10:30 am.
Consulting, dba Law Offices of Kent W.
Easter,
Defendants.

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DECLARATION OF ROBERT H. MARCEREAU IN SUPPORT OF PLAINTIFF'S
MOTION FOR SUMMARY JUDGMENT

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DECLARATION OF ROBERT H. MARCEREAU

I, Robert H. Marcereau, declare as follows:

1. I am an attorney at the law firm of Marcereau & Nazif, counsel of record for Kelli
Peters, Bill Peters and Sydnie Peters ( “Plaintiffs”) in this case. | am a member in good standing
of the State Bar of California and have been admitted to practice before this Court. I make this
Declaration in support of Plaintiffs’ Motion for Summary Judgment.” I have personal knowledge
of the facts set forth in this Declaration and, if called as a witness, could and would testify
competently to such facts under oath.

2. On August 3, 2012, Plaintiffs filed a lawsuit against Kent Easter and his wife in the
Superior Court for the State of California, for the County of Orange, Case No. 30-2012-00588580-
CU-POI-CIC (the “State Court Action”). In the operative complaint, Plaintiffs alleged causes of
action for, among other things, False Imprisonment and Intentional Infliction of Emotional Distress.
The Complaint alleges that Kent Easter, along with this wife, planted illegal drugs in Kelli Peters’
car and made a false report to police about it, which resulted in Kelli Peters’ detention and
investigation by police.

3. The parties’ jury trial commenced on February 2, 2016 and concluded on February
5, 2016. Kent Easter actively participated in all stages of discovery and trial in the State Court
Action, and all of the issues in the State Court Action were actually, fully, and fairly litigated. Kent
Easter had an opportunity to, and did, testify and present his own evidence during the trial in the
State Court Action.

4, Plaintiffs proved in the State Court Action that Kent Easter and his wife attempted to
frame Kelli Peters for possession of illegal drugs, which resulted in her false imprisonment.
Plaintiffs also proved that Kent Easter and his wife intentionally inflicted emotional distress upon
them. Indeed, Kent Easter admitted to these facts in my presence.

5. At the conclusion of the trial, on February 5, 2016, the jury reached a verdict. A true
and correct copy of the Verdict Form is attached hereto as Exhibit 1.

6. After the jury reached its verdict, the court thereafter entered a Judgment on Jury
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DECLARATION OF ROBERT H. MARCEREAU IN SUPPORT OF PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT

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Verdict on February 29, 2016. A true and correct copy of the judgment is attached hereto as
Exhibit 2.

7. Prior to the verdict in the State Court Action, Kent Easter was found guilty of felony
false imprisonment (Penal Code 236/237a) in Orange County Superior Court, Case No. 12ZF0153
on September 10, 2014. The underlying facts of the criminal action were the same as the State
Court Action, i.e., that Kent Easter and his wife planted illegal drugs in Kelli Peters’ car and made a
false report to police about it, which resulted in Kelli Peters’ detention and investigation by police.
Kent Easter actively participated in his criminal court case. He retained a criminal defense lawyer
to represent him and attended every day of the trial. Mr. Easter admitted these facts in my presence.

8. The underlying facts of the case are as follows: On or about February 16, 2011,
Kent Easter and his wife, Jill Easter, planted illegal drugs and drug paraphernalia in Kelli Peters’
car, including bags of Vicodin, Percocet and Marijuana, and a used Marijuana pipe. Kent Easter
then made a false report to Irvine Police stating that he witnessed Kelli Peters driving erratically
and hiding drugs in her car. Kent Easter and his wife admitted these facts in a signed stipulation,
and also admitted these facts in my presence during testimony at trial. A true and correct copy of
the stipulation signed by Kent Easter and Jill Easter is attached hereto as Exhibit 3.

9. On June 16, 2012, the Irvine Police arrested Kent Easter and Jill Easter for allegedly
planting illegal drugs and drug paraphernalia in Kelli Peters’ car and making a false report to police.
Mr. Easter admitted these facts in my presence.

10. Attached as Exhibit 4 are true and correct copies of portions of the trial transcript in
the State Court Action dated February 3, 2016.

11. Attached as Exhibit 5 are true and correct copies of portions of the trial transcript in

the State Court Action dated February 4, 2016.

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DECLARATION OF ROBERT H. MARCEREAU IN SUPPORT OF PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT

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12. Attached as Exhibit 6 are true and correct copies of the trial transcript in the State
Court Action dated February 5, 2016.

Executed on October 4, 2016 at Foothill Ranch California.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

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Robert H. Marcereau

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DECLARATION OF ROBERT H. MARCEREAU IN SUPPORT OF PLAINTIFF’S
MOTION FOR SUMMARY JUDGMENT

